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		OSCN Found Document:RE REINSTATEMENT OF CREDENTIALS OF REGISTERED COURTROOM INTERPRETERS

					

				
  



				
					
					
						
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				RE REINSTATEMENT OF CREDENTIALS OF REGISTERED COURTROOM INTERPRETERS2019 OK 31Decided: 04/29/2019THE SUPREME COURT OF THE STATE OF OKLAHOMA
Cite as: 2019 OK 31, __ P.3d __

				
FOR PUBLICATION IN OBJ ONLY. NOT FOR OFFICIAL PUBLICATION. 



RE: Reinstatement of Credentials of Registered Courtroom Interpreters




ORDER


The Oklahoma Board of Examiners of Certified Courtroom Interpreters recommended to the Supreme Court of Oklahoma that the credentials of Alejandro Miranda be reinstated as he has complied with the continuing education requirements for 2018 and annual certificate renewal requirements for 2019 and has paid all applicable fees.

IT IS HEREBY ORDERED pursuant to 20 O.S., Chapter 23, App. 1, Rules 18 and 20, the credentials of Alejandro Miranda be reinstated from the suspension earlier imposed by this Court:

DONE BY ORDER OF THE SUPREME COURT IN CONFERENCE this 29th day of APRIL, 2019.


/S/CHIEF JUSTICE



Gurich, C.J., Darby, V.C.J., Kauger, Winchester, Edmondson, Colbert, Reif and Combs, JJ., concur.







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